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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE

CRAIG COPLEY,                    )
                                 )
         Plaintiff               )
                                 )
    v.                           )                  2:16-cv-00458-DBH
                                 )
YORK BEACH POLICE CHIEF, et al., )
                                 )
         Defendants              )


                  RECOMMENDED DECISION ON DEFENDANTS’
                     MOTIONS FOR SUMMARY JUDGMENT

       In this action, Plaintiff Craig Copley alleges members of the Town of York Police

Department arrested him unlawfully, and that members of the York County Sheriff’s Office

improperly permitted his transfer to Connecticut in violation of the applicable extradition

procedure.

       The matter is before the Court on Defendants’ motions for summary judgment.

(Def. York County Sheriff’s Motion for Summary Judgment, ECF No. 54; Def. Chief of

Police for the Town of York’s Motion for Summary Judgment, ECF No. 57.) Through

their motions, Defendants contend summary judgment is appropriate because the record

establishes that Plaintiff was arrested pursuant to a valid warrant and that Plaintiff’s transfer

was lawful.

       Following a review of the summary judgment record, and after consideration of the

parties’ arguments, I recommend the Court dismiss the Plaintiff’s arrest-related claim for

lack of subject matter jurisdiction. Alternatively, in the event the Court determines the

Court has jurisdiction to consider the merits of the claim, I recommend the Court grant
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Defendants’ motions for summary judgment on the arrest-related claim. I also recommend

the Court grant Defendants’ motions for summary judgment as to Plaintiff’s claim based

on his extradition to Connecticut.

                                         BACKGROUND FACTS

        In support of their motions, Defendants have each submitted a record, including a

statement of material facts, in accordance with Local Rule 56. Plaintiff has not filed an

opposing statement of material facts, but Plaintiff signed his pleadings under penalty of

perjury. The facts are derived from the statements of material facts and Plaintiff’s verified

pleadings.1

                                          Plaintiff’s Pleadings

        According to Plaintiff’s verified complaint, York Beach Police Department falsely

arrested Plaintiff on October 14, 2014, based on an invalid probation warrant that issued

due to Plaintiff’s failure to report to his probation officer on February 25, 2014. Plaintiff


1
  At summary judgment, a court ordinarily considers only the facts included in the parties’ statements of
material facts, which statements must be supported by citations to evidence of record. Federal Rule of Civil
Procedure 56(c) and District of Maine Local Rule 56(b) – (d) require the specific citation to record evidence.
In addition, Local Rule 56 establishes the manner by which parties must present their factual statements
and the evidence on which the statements depend. A party seeking summary judgment thus must file, in
addition to its summary judgment motion, a supporting statement of material facts setting forth each fact in
a separately numbered paragraph, with each factual statement followed by a citation to evidence of record
that supports the factual statement. D. Me. Loc. R. 56(b). A party opposing a motion for summary
judgment must file an opposing statement in which it admits, denies, or qualifies the moving party’s
statements by reference to each numbered paragraph, with citations to supporting evidence, and in which it
may set forth additional facts, in separately numbered paragraphs, with citation to supporting evidence. D.
Me. Loc. R. 56(c). “Facts contained in a supporting or opposing statement of material facts, if supported
by record citations as required by this rule, shall be deemed admitted unless properly controverted.” D.
Me. Loc. R. 56(f). Additionally, “[t]he court may disregard any statement of fact not supported by a specific
citation to record material properly considered on summary judgment.” Id. Ordinarily, a party’s pro se
status does not relieve the party of the obligation to comply with the court’s procedural rules. Ruiz Rivera
v. Riley, 209 F.3d 24, 27 – 28 & n. 2 (1st Cir. 2000); Marcello v. Maine, 489 F. Supp. 2d 70, 77 (D. Me.
2007). However, in the context of summary judgment, this Court has observed that facts set forth in a pro
se litigant’s verified complaint or affidavit should be considered. Clarke v. Blais, 473 F. Supp. 2d 124, 128
(D. Me. 2007).
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maintains that in July or August 2012, he received an unconditional discharge that

terminated the underlying probationary sentence. (Complaint at 3, ECF No. 1.) Plaintiff

has further alleged that, following his arrest, an extradition hearing was scheduled, but

before his hearing he “was unlawfully and illegally transported from [the] Alford [sic],

Maine jail to Conn[ecticut].” (Id. at 5.) Through a motion to amend signed under penalty

of perjury, Plaintiff further asserted that Defendants violated his right to travel. (Motion

to Amend, ECF No. 16.)

                            Defendants’ Statements of Material Facts

       In support of the motions for summary judgment, Defendants cite a probation

motion signed on February 25, 2014, by which the state of Connecticut charged Plaintiff

with a probation violation. (York County Sheriff’s Statement of Material Facts, Ex. D,

ECF No. 56-1.) According to the motion, Plaintiff’s term of probation started January 13,

2014, based on a Connecticut state court sentence that was imposed on December 18, 2013.

(Id.) Plaintiff agreed to and signed the conditions of probation on January 15, 2014. The

terms of probation provide that a probationer “must follow” specified conditions, including

the condition that the probationer “[a]gree to return (waive extradition) from any other

state, territory, or jurisdiction.” (Id. at 2, ¶ 5.) On March 4, 2014, the Connecticut Superior

Court issued a warrant for Plaintiff’s arrest based on an affidavit that described alleged

violations of the conditions of probation. (Id. at 7 – 9.)

       On the evening of October 13, 2015, Plaintiff entered the Town of York Police

Department and requested assistance with locating a place to spend the night. (York Police

SMF ¶ 5, ECF No. 58.) The York Police Department has vouchers available to provide

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financial assistance to persons in need, but identification is required for participation in the

program. (Id. ¶¶ 6, 8.) When dispatch ran a check of Plaintiff’s name and date of birth,

the search revealed an active Connecticut warrant for Plaintiff’s arrest based on Plaintiff’s

alleged violation of probation. (Id. ¶ 14.) According to the available records, the warrant

stated that extradition was approved for surrounding states. The record also included the

name of Connecticut Parole Officer Bryan Sissick. (Id. ¶ 16.)

       York Officer Joshua Goddard contacted Parole Officer Sissick and informed him

that Plaintiff was in Maine. (Id. ¶ 18.) Officer Sissick confirmed that there was a valid

and outstanding warrant for Plaintiff’s arrest for probation violations, and he advised that

an official from Connecticut would travel to Maine to take custody of Plaintiff. (Id. ¶ 19.)

Officer Christopher Gosselin also spoke with Officer Sissick, and Officer Sissick again

confirmed that there was a valid and outstanding warrant for Plaintiff’s arrest. (Id. ¶ 20.)

Officer Sissick asked for Plaintiff to be detained to permit Connecticut Probation and

Parole the opportunity to travel to York County Jail to take custody of Plaintiff. (Id. ¶ 23.)

       Officer Gosselin arrested Plaintiff as a fugitive from justice. (Id. ¶ 26.) Following

the arrest, the York Police Department transported Plaintiff to the York County Jail for

further processing and holding. (Id. ¶ 22.) Officer Gosselin completed the necessary

arrest-related documents and informed the York County Jail that Officer Sissick would

provide additional documentation from Connecticut. (Id. ¶ 29.) Defendant Chief of Police

of the York Police Department was not present or involved in any way in Plaintiff’s arrest

or extradition. (Id. ¶ 31.)




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       After Officer Gosselin delivered Plaintiff to the York County Jail, Plaintiff was

booked as a fugitive from justice based on the Connecticut warrant and held until October

22, 2015. (Id. ¶ 2.) On October 14, 2015, the York County Jail received a twelve-page fax

transmission from Officer Sissick, which transmission included a copy of the arrest warrant

and a copy of the conditions of probation that provided for the waiver of extradition. Carl

Ronco, a sergeant at the York County Jail, provided the documentation to the York County

District Attorney’s office, which confirmed that the waiver of extradition could be honored

and that Plaintiff could be released to Connecticut without an extradition hearing. (Id. ¶

8.)

       As Sheriff of York County, William King has final decision-making authority with

respect to all policy and operational matters at the York County Jail. (Id. ¶ 10.) Sheriff

King was not present when his officers released Plaintiff to Connecticut officials, and he

did not participate in the decision to release Plaintiff to Connecticut officials. (Id. ¶ 11.)

Sheriff King has no knowledge of any situations in which York County was found to have

improperly released a detainee to out-of-state officials without following proper extradition

procedures. (Id. ¶ 12.)

       York County Jail Policy and Procedure F-160, entitled “Inmate Grievance Policy,”

is the official policy of the York County Jail and was in effect at all relevant times. (Id. ¶

13.) The grievance policy provides that an inmate may initiate a grievance for various

reasons, including for the alleged violation of the inmate’s civil, constitutional, or statutory

rights. (Id. ¶ 14.) If an issue cannot be resolved informally, the grievance policy authorizes

the inmate to file a written grievance, which will be forwarded to the jail administration for

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investigation and response. (Id. ¶ 15.) If an inmate is not satisfied with the response, the

inmate may file an appeal, which the Sheriff will review. (Id. ¶ 16.) Finally, if an inmate

is not satisfied with the results of the grievance, the inmate may file a grievance with the

Maine Department of Corrections. (Id. ¶ 17.) Plaintiff did not file any grievances. (Id. ¶

18.)

                                        DISCUSSION

A.     Summary Judgment Standard

       “The court shall grant summary judgment if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a matter

of law.” Fed. R. Civ. P. 56(a). “After the moving party has presented evidence in support

of its motion for summary judgment, ‘the burden shifts to the nonmoving party, with

respect to each issue on which he has the burden of proof, to demonstrate that a trier of fact

reasonably could find in his favor.’” Woodward v. Emulex Corp., 714 F.3d 632, 637 (1st

Cir. 2013) (quoting Hodgens v. Gen. Dynamics Corp., 144 F.3d 151, 158 (1st Cir. 1998)).

A court reviews the factual record in the light most favorable to the non-moving party,

resolving evidentiary conflicts and drawing reasonable inferences in the non-movant’s

favor. Perry v. Roy, 782 F.3d 73, 77 (1st Cir. 2015). If the court’s review of the record

reveals evidence sufficient to support findings in favor of the non-moving party …, a trial

worthy controversy exists and summary judgment must be denied …. Id. (“The district

court’s role is limited to assessing whether there exists evidence such that a reasonable jury

could return a verdict for the nonmoving party.” (internal quotation marks omitted)).




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B.     Title 42 U.S.C. § 1983

       Because Plaintiff alleges a constitutional deprivation, Plaintiff’s claim would be

governed by 42 U.S.C. § 1983, which provides in relevant part:

       Every person who, under color of any statute, ordinance, regulation, custom,
       or usage, of any State or Territory or the District of Columbia, subjects, or
       causes to be subjected, any citizen of the United States or other person within
       the jurisdiction thereof to the deprivation of any rights, privileges, or
       immunities secured by the Constitution and laws, shall be liable to the party
       injured in an action at law, suit in equity, or other proper proceeding for
       redress ….

Section 1983 “‘is not itself a source of substantive rights,’ but merely provides ‘a method

for vindicating federal rights elsewhere conferred.’” Albright v. Oliver, 510 U.S. 266, 271

(1994) (quoting Baker v. McCollan, 443 U.S. 137, 144 n.3 (1979)). To maintain a claim

under section 1983, a plaintiff must establish: “1) that the conduct complained of has been

committed under color of state law, and 2) that this conduct worked a denial of rights

secured by the Constitution or laws of the United States.” Barreto-Rivera v. Medina-

Vargas, 168 F.3d 42, 45 (1st Cir. 1999).

       Defendants do not dispute that they acted under color of state law. Instead,

Defendants challenge Plaintiff’s claim that he has been deprived of a federal right.

C.     Subject Matter Jurisdiction

       In Preiser v. Rodriguez, 411 U.S. 475 (1973), state prisoners brought a civil rights

action challenging the constitutionality of state administrative action that deprived them of

good time credits. The Supreme Court held that “Congress has determined that habeas

corpus is the appropriate remedy for state prisoners attacking the validity of the fact or




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length of their confinement, and that specific determination must override the general terms

of § 1983.” Id. at 490.

       In Heck v. Humphrey, 512 U.S. 477 (1994), a state prisoner brought a civil rights

action in which he exclusively sought an award of damages, but he alleged that his

conviction was the product of an illegal investigation, arrest, and trial. Consistent with

Preiser, the Supreme Court held that the plaintiff must first look to habeas corpus or

analogous state relief, because a civil judgment in his favor would “necessarily imply” the

invalidity of his conviction, even if the only remedy requested was an award of damages.

Id. at 486 – 87.

       In Wilkinson v. Dotson, 544 U.S. 74, 81 (2005), the Supreme Court explained that

Preiser, Heck and related precedent are designed “to ensure that state prisoners use only

habeas corpus (or similar state) remedies when they seek to invalidate the duration of their

confinement—either directly through an injunction compelling speedier release or

indirectly through a judicial determination that necessarily implies the unlawfulness of the

State’s custody.” Based on this authority, “a state prisoner’s § 1983 action is barred (absent

prior invalidation)—no matter the relief sought (damages or equitable relief), no matter the

target of the prisoner’s suit (state conduct leading to conviction or internal prison

proceedings)—if success in that action would necessarily demonstrate the invalidity of

confinement or its duration.” Id. at 81 – 82.

       Through this civil rights action, Plaintiff in part seeks to demonstrate the invalidity

of his arrest and detention in order to recover money damages and restore his liberty.

Plaintiff, however, is not entitled to relief under section 1983 unless and until a court

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determines that his custody in Connecticut is invalid, and after an appropriate court

determines whether Plaintiff is entitled to habeas relief.2 See Wiley v. City of Chicago, 361

F.3d 994, 997 (7th Cir. 2004) (claim of false arrest can in some instances be barred by

Heck, and reasoning that such a claim is barred when it challenges the legality of a pending

prosecution); Hudson v. Wendt, 175 F.3d 1020 (7th Cir. 1999) (table) (claim of wrongful

extradition is barred by Heck).

        In this case, because a finding in Plaintiff’s favor on his civil rights claim regarding

his arrest would “necessarily imply” the invalidity of his probation sentence and current

confinement based on that sentence, this Court lacks jurisdiction to consider the claim until

such time as Plaintiff obtains habeas or similar relief from a federal or state court.

Furthermore, as explained by this Court in its prior order dismissing Plaintiff’s habeas

petition in Copley v. Vartelas, No. 2:16-cv-00343-DBH, this Court is not the proper habeas

court in which to challenge Connecticut’s custody of Plaintiff.

D.      Defendants’ Motions for Summary Judgment

        The Heck bar is jurisdictional in nature. See Widi v. McNeil, No. 2:12-cv-00188-

JAW, 2013 WL 5348628, at *2 (D. Me. Sept. 24, 2013) (citing Figueroa v. Rivera, 147

F.3d 77, 81 (1st Cir. 1998), and McGann v. Eaton, No. 05–2864, 2006 WL 2391059, at *5

– 6 (1st Cir. Aug. 21, 2006)). On Plaintiff’s arrest-related claim, therefore, dismissal, rather

than summary judgment, is appropriate.               Nevertheless, I will address the merits of


2
  In a separate proceeding filed June 27, 2016, Plaintiff petitioned the Court for habeas corpus relief.
(Copley v. Vartelas, No. 2:16-cv-00343-DBH.) In his habeas petition, Plaintiff stated that he was currently
subject to a sentence of probation and was being held in Connecticut based on a probation violation for
failure to appear at a court proceeding in 2014. (Id., ECF No. 1.) The Court dismissed Plaintiff’s petition
because the Court did not have jurisdiction over Plaintiff’s current custodian, Helene Vartelas, Chief
Executive Officer of the Connecticut Valley Hospital.
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Plaintiff’s arrest-related claim in the event the Court concludes that the claim is currently

within the Court’s jurisdiction.          On Plaintiff’s extradition-related claim, summary

judgment is warranted.3

       1.      Chief of Police’s Motion for Summary Judgment

       Plaintiff’s section 1983 claim against the York Chief of Police alleges false arrest

in violation of the Fourth Amendment. The Chief argues he is entitled to summary

judgment because the undisputed facts establish there was a valid warrant for Plaintiff’s

arrest, and because the Chief was not personally involved in Plaintiff’s arrest and detention.

(Chief’s Motion at 6 – 11, ECF No. 57.)

       The Fourth Amendment prohibits unreasonable searches and seizures, and provides

that no warrant shall issue except on a showing of “probable cause, supported by oath or

affirmation.” U.S. Const. amend. IV.            An officer who makes an arrest pursuant to a

warrant is not liable for false arrest unless he or she has reason to know that the warrant

was secured under false pretenses or is otherwise invalid. Burke v. Town of Walpole, 405

F.3d 66, 85 – 87 (1st Cir. 2005); Torres Ramirez v. Bermudez Garcia, 898 F.2d 224, 228

(1st Cir. 1990).

       The uncontroverted record evidence establishes that York police officers arrested

Plaintiff pursuant to a valid arrest warrant issued by Connecticut, and that there is no

evidence that would support an argument that the officers had reason to believe the warrant



3
  Because the failure to follow the applicable extradition process generally does not deprive a court of
jurisdiction, a challenge to the extradition process does not necessarily imply the invalidation of any
subsequent conviction and, therefore, Heck does not bar the claim. See Harden v. Pataki, 320 F.3d 1289,
1300 – 1301 (11th Cir. 2003).

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was obtained under false pretenses or that the warrant was in some way invalid. Plaintiff,

therefore, cannot proceed on a claim against the York Chief of Police in a personal capacity

or in an official capacity to support a municipal liability claim. Wilson v. Town of Mendon,

294 F.3d 1, 6 (1st Cir. 2002); Fletcher v. Town of Clinton, 196 F.3d 41, 55 (1st Cir. 1999);

Maldonado–Denis v. Castillo–Rodriguez, 23 F.3d 576, 583 (1st Cir. 1994); Pittsley v.

Warish, 927 F.2d 3, 9 n. 4 (1st Cir. 1991).

        2.      York County Sheriff’s Motion for Summary Judgment

        Plaintiff’s section 1983 claim against the York County Sheriff is based on the

alleged violation of Plaintiff’s right to extradition proceedings.4 The Sheriff argues he is

entitled to summary judgment because Plaintiff did not exhaust the available administrative

remedies before filing this action. (Sheriff’s Motion for Summary Judgment at 3 – 4, ECF

No. 54.) Additionally, the Sheriff contends that summary judgment is appropriate because

the decision to allow the transfer of Plaintiff was made not pursuant to municipal policy,

and because he was not personally involved in the decision. (Id. at 4 – 8.) Finally, the

Sheriff maintains that the undisputed record establishes that Plaintiff waived any right to

challenge extradition. (Id. at 5, citing inter alia, Scull v. New Mexico, 236 F.3d 588 (10th

Cir. 2000).5)

        Whether Plaintiff’s extradition claim is analyzed under the objective reasonableness

standard of the Fourth Amendment, or based on procedural due process principles, an


4
 To the extent Plaintiff contends his detention in the York County Jail was unreasonable under the Fourth
Amendment, the claim is subject to the Heck bar.
5
 In Scull, the Tenth Circuit held that because the plaintiff “had previously signed a waiver of extradition
as a condition of parole, he had neither a constitutional nor a statutory right to specific extradition
procedures.” 236 F.3d at 596.
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individual detained on criminal process can waive the right to extradition proceedings. The

Uniform Criminal Extradition Act provides:

        Notwithstanding any other provision of law, a law enforcement agency in
        this State holding a person who is alleged to have broken the terms of his
        probation, parole, bail or any other release in the demanding state, shall
        immediately deliver the person to the duly authorized agent of the demanding
        state without the requirement of a Governor’s warrant, if all of the following
        apply:

        1. Waiver. The person has signed a prior waiver of extradition as a term of
        his current probation, parole, bail or other release in the demanding state; and

        2. Authenticated copy. The law enforcement agency holding the person has
        received an authenticated copy of the prior waiver of extradition signed by
        the person and photographs or fingerprints or other evidence properly
        identifying the person as the person who signed the waiver.

15 M.R.S. § 226. The Extradition Act thus recognizes that a probationer can waive, in

advance, extradition on any future arrest for violation of the conditions of probation.

        In this case, the record establishes that as a condition of his probation in Connecticut,

Plaintiff waived extradition, and that Connecticut officials requested members of the York

County Sheriff’s office detain Plaintiff pending extradition. Given Plaintiff’s waiver of

extradition, the York County Sheriff’s office did not act unreasonably under the Fourth

Amendment, or deprive Plaintiff of any due process right.6 Plaintiff, therefore, cannot

prevail on his claim.




6
 To the extent Plaintiff’s pleadings could be construed to advance the extradition-related due process claim
against the York Chief of Police, the Chief of Police is entitled to summary judgment because Plaintiff has
failed to provide any evidence from which a fact finder could conclude that the Chief of Police or any of
his officers were involved in the decision to release Plaintiff to Connecticut authorities.
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                                        CONCLUSION

       Based on the foregoing analysis, I recommend the Court dismiss Plaintiff’s arrest-

related claim for lack of jurisdiction. Alternatively, if the Court determines that the Court

has jurisdiction over the arrest-related claim, I recommend the Court grant the motions for

summary judgment and enter judgment in favor of Defendants on the claim. I also

recommend the Court grant the motions for summary judgment on the extradition-related

claim and enter judgment in favor of Defendants on the claim.

                                          NOTICE

               A party may file objections to those specified portions of a magistrate
       judge’s report or proposed findings or recommended decisions entered
       pursuant to 28 U.S.C. § 636(b)(1)(B) for which de novo review by the district
       court is sought, together with a supporting memorandum within fourteen (14)
       days of being served with a copy thereof. A responsive memorandum shall
       be filed within fourteen (14) days after the filing of the objection.

              Failure to file a timely objection shall constitute a waiver of the right
       to de novo review by the district court and to appeal the district court’s order.

                                           /s/ John C. Nivison
                                           U.S. Magistrate Judge

Dated this 3rd day of October, 2017.




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